                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


STATE OF FLORIDA,

      Plaintiff,

v.                                            CASE NO. 8:21-cv-2524-SDM-TGW

BILL NELSON, et al.,

      Defendants.
___________________________________/

                                      ORDER

      In accord with the notice of compliance, the parties must conform to the

following schedule.

      1.      Not later than NOVEMBER 17, 2021, and in a brief not exceeding

forty pages, the defendants must respond to Florida’s motion for a preliminary

injunction.

      2.      Not later than NOVEMBER 29, 2021, and in a brief not exceeding

fifteen pages, Florida may reply.

      3.      Oral argument on the motion for preliminary injunction will occur on

DECEMBER 7, 2021, at 9:00 a.m. in Courtroom 15A, United States Courthouse,

801 N. Florida Avenue, Tampa, FL 33602.

      ORDERED in Tampa, Florida, on November 8, 2021.
